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                                SENTENCING SUMMARY CHART
                                 Sentencing Date December 9, 2022
                                                                                           USPO:
                                                                                           AUSA:
                                                                                           DEF:     X
Defendant’s Name: Jan Carlo Araujo Hernandez                             Docket No. 22CR1588-RBM
Attorney’s Name:      Nora Stephens                                        Phone No.: (619) 234 8467
Guideline Manual Used:      2018                               Agree with USPO Calc.:
Base Offense Level: USSG § 2D1.1(a)(5)                                                            34


Specific Offense Characteristics:
Safety Valve §§ 2D1.1(b)(18) & 5C1.2                                                                -2
Minor Role USSG § 2D1.1(a)(5)                                                                       -2

Adjusted Offense Level:                                                                            30
   Combined (Mult. Counts)     Career Offender     Armed Career Criminal
Adjustment for Acceptance of Responsibility:                                                       -3
Total Offense Level:                                                                               27
Criminal History Score:                                                                             0
Criminal History Category:                                                                          I
   Career Offender     Armed Career Criminal
Guideline Range:
   (Range limited by:   Minimum Mandatory       Statutory Maximum)              from:      70 months
Departures/Variances:                                                                to:     87 months
Fast Track § 5K3.1                                                                                  -4
Aberrant Behavior § 5K2.20                                                                          -4
Age § 5H1.1                                                                                         -4


Adjusted Offense Level:                                                                             15
Resulting Guideline Range:                                                        from:      18 months
                                                                                     to:     24 months
Recommendation:
    For the reasons in his sentencing memorandum, Mr. Araujo Hernandez respectfully
    asks this Court to impose a sentence of time served at 170 days.
